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 4
     Attorney for Defendant
 5
     JORGE PENA
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      )       No. CR. S-09-0487 FCD
                                                    )
10
                                                    )
            Plaintiff,                              )       STIPULATION AND ORDER
11
                                                    )       ORDER CONTINUING SENTENCING
     v.                                             )
12
                                                    )
     JORGE PENA,                                    )
13
                                                    )       Judge: Honorable Frank C. Damrell, Jr.
                                                    )
14          Defendant.                              )
                                                    )
15
                                                    )
                                                    )
16

17
            The parties hereby stipulate the following:
18
            1. Judgment and sentencing in this matter is presently set for June 6, 2011. Counsel for
19
                the defendant request that the date for judgment and sentencing be continued to
20
                July 11, 2011 at 10:00am.
21
            2. The parties and United States Probation hereby requests that the court adopt the
22
                following schedule pertaining to the presentence report:
23
                Judgment and Sentencing date:                                      7/11/11
24

25              Reply, or Statement of Non-Opposition:                             7/4/11

26              Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the
27
                Probation Officer and opposing counsel no later than:              6/27/11
28




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             Case 2:09-cr-00487-JAM Document 105 Filed 04/27/11 Page 2 of 3


               The Presentence Report shall be filed with the Court
 1
               And disclosed to counsel no later than:                       6/20/11
 2
               Counsel’s written objections to the Presentence Report
 3             Shall be delivered to the probation officer and opposing
               Counsel no later than:                                        6/13/11
 4

 5             The proposed Presentence Report shall be disclosed to
               Counsel no later than:                                        5/30/11
 6

 7   IT IS SO STIPULATED.
 8
     Dated: April 26, 2011                                      /s/ John R. Manning
 9                                                             JOHN R. MANNING
                                                               Attorney for Defendant
10                                                             Jorge Pena
11

12

13

14   Dated: April 26, 2011                                     Benjamin B. Wagner
                                                               United States Attorney
15
                                                        by:    /s/ Carolyn K. Delaney
16
                                                               CAROLYN K. DELANEY
17                                                             Assistant U.S. Attorney

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              Case 2:09-cr-00487-JAM Document 105 Filed 04/27/11 Page 3 of 3


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 7
                              IN THE UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10

     UNITED STATES OF AMERICA,                      ) No. CR. S-09-0487 FCD
11
                                                    )
                                                    )
12           Plaintiff,                             ) ORDER TO CONTINUE SENTENCING
                                                    )
13
     v.                                             )
                                                    )
14
     JORGE PENA,                                    )
                                                    )
15
                                                    )
             Defendant.                             )
16
                                                    )
                                                    )
17
                                                    )
18

19
             GOOD CAUSE APPEARING, it is hereby ordered that the date for the judgment and
20
     sentence of defendant Jorge Pena be continued from June 6, 2011 to July 11, 2011. The court
21

22   hereby adopts the schedule concerning the presentence report as stipulated to by the parties and

23   set forth herein.
24
     IT IS SO ORDERED.
25

26                                              _______________________________________
     Dated: April 27, 2011
27
                                                FRANK C. DAMRELL, JR.
                                                UNITED STATES DISTRICT JUDGE
28




                                                     3
